Case 2:16-cv-00051-LEW Document 182 Filed 07/06/20 Page 1 of 2                 PageID #: 1894




                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

 MATTHEW LAUZON,                             )
     Plaintiff,                              )
                                             )
 v.                                          )
                                               Case No.: 2:16-CV-51
                                             )
 ROGER BEAUPRE, ET AL.                       )
     Defendants                              )
                                             )

                               STIPULATION OF DISMISSAL

       NOW COME the parties and hereby stipulate to the dismissal of the above captioned matter

with prejudice and without costs to any party.



Date: July 6, 2020                                   /s/ Walter McKee______________
                                                     WALTER F. MCKEE
                                                     Attorney for Plaintiff
                                                     McKee Law, P.A.
                                                     133 State Street
                                                     Augusta, ME. 04330
                                                     207-620-8294

                                                     /s/ Joseph Cahoon Jr._____________
                                                     JOSEPH CAHOON, Jr.
                                                     Richardson, Whitman, Large & Badger
                                                     P.O. Box 9545
                                                     Portland, ME 04112-9545
                                                     207-774-7474




                                                 1
Case 2:16-cv-00051-LEW Document 182 Filed 07/06/20 Page 2 of 2                    PageID #: 1895




                                   CERTIFICATE OF SERVICE
        This is to certify that on the above-referenced date Stipulation of Dismissal was served on

all parties via electronic mail.

Date: July 6, 2020

                                                     /s/Walter F. McKee
                                                     Walter F. McKee
                                                     Attorney for Plaintiff
                                                     MCKEE LAW, P.A.
                                                     133 State Street
                                                     Augusta, ME 04330
                                                     wmckee@mckeelawmaine.com

                                                     /s/ Joseph Cahoon Jr._____________
                                                     JOSEPH CAHOON, Jr.
                                                     Richardson, Whitman, Large & Badger
                                                     P.O. Box 9545
                                                     Portland, ME 04112-9545
                                                     207-774-7474
                                                     jcahoon@rwlb.com




                                                 2
